  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 1 of 52 PageID #:3961



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: DEALER MANAGEMENT             )
SYSTEMS ANTITRUST LITIGATION         )
____________________________________)               Case No. 18 CV 864
                                     )
This Document Applies to:            )              Hon. Amy J. St. Eve
                                     )
Authenticom, Inc. v. CDK Global, LLC )
Case No. 18 CV 868                   )

                         MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

       Plaintiff Authenticom, Inc., a data-integration firm, sued Defendants CDK Global, LLC

and The Reynolds and Reynolds Company, the premier purveyors of dealer management

systems, for violating Sections 1 and 2 of the Sherman Act and committing tortious interference.

Both Defendants filed respective motions to dismiss pursuant to Federal Rule of Civil Procedure

12(b)(6). (R. 53, R. 56.) For the reasons explained below, the Court grants in part and denies in

part Defendants’ motions.

                                  PROCEDURAL HISTORY

       Authenticom filed this lawsuit on May 1, 2017, in the Western District of Wisconsin.

With its Complaint, Authenticom filed an emergency motion for a preliminary injunction. The

motion sought to enjoin Defendants’ allegedly anticompetitive practices which, as explained

below, allegedly prevented Authenticom from accessing Defendants’ respective dealer

management systems (“DMS”), a necessary part of Authenticom’s data-integration business.

Authenticom claimed that those practices effectively excluded it from the market and, as a result,

were “on the verge of putting [it] out of business.” (Case No. 18-cv-868, R. 5.) Over the next
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 2 of 52 PageID #:3962



three months, the parties submitted voluminous exhibits and declarations, and the district court

held a two-and-a-half-day hearing in early July 2017.

       On July 14, 2017, the district court granted Authenticom’s motion for a preliminary

injunction. It ruled that Authenticom had demonstrated a “moderate” likelihood of success on its

Section 1 claims (it did not address the Section 2 claims), and that Authenticom had no adequate

remedy at law as evidence suggested Defendants’ conduct could force it to shutter its business.

See Authenticom, Inc. v. CDK Glob., LLC, No. 17-CV-318-JDP, 2017 WL 3017048 (W.D. Wis.

July 14, 2017), vacated, 874 F.3d 1019 (7th Cir. 2017). Weighing the harms, the court granted

Authenticom’s motion, and after some further briefing, entered a preliminary injunction against

each Defendant on July 28, 2017. See also Authenticom, Inc. v. CDK Glob., LLC, No. 17-CV-

318-JDP, 2017 WL 3206943 (W.D. Wis. July 28, 2017), vacated, 874 F.3d 1019 (7th Cir. 2017).

Those preliminary injunctions forced, among other things, Defendants to allow Authenticom

access to their DMSs.

       Defendants appealed, and the Seventh Circuit vacated the preliminary injunctions and

remanded the case. The Seventh Circuit held that whatever the merits of Authenticom’s Section

1 claims, the injunctions’ forced sharing of Defendants’ DMSs ran afoul of the bedrock

principle that firms generally have no duty to deal with competitors. Authenticom, Inc. v. CDK

Glob., LLC, 874 F.3d 1019, 1021 (7th Cir. 2017) (citing Verizon Commc’ns Inc. v. Law Offices

of Curtis v. Trinko, 540 U.S. 398 (2004), Pacific Bell Tel. Co. v. Linkline Commc’ns, Inc., 555

U.S. 438 (2009)). It reasoned that “[t]he proper remedy for a section 1 violation based on an

agreement to restrain trade is to set the offending agreement aside,” not force the alleged

violators to deal with the complainant. Id. at 1026. The Seventh Circuit, however, “urge[d]” the

district court to do what it could to expedite resolution of the matter based on Authenticom’s




                                                 2
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 3 of 52 PageID #:3963



representations of financial distress. Id. at 1021.

         By the time the Seventh Circuit issued its decision, software vendors and automobile

dealers had filed a handful of potential tag-along lawsuits across the country against Defendants.

The day after the Seventh Circuit’s decision, Defendants filed a motion for transfer and

consolidation of those cases (and ones later filed) with the Judicial Panel on Multidistrict

Litigation (“JPML”). The JPML granted that motion and transferred the cases to this Court for

consolidated pretrial proceedings. (R. 1.) Meanwhile, the district court presiding over

Authenticom had granted Defendants’ motion for a partial stay of discovery given the pending

MDL.

         In the midst of the preliminary-injunction and appellate proceedings, the parties briefed

Defendants’ Rule 12(b)(6) motions to dismiss. Those motions are now before the Court.

                                      LEGAL STANDARDS

I.       Rule 12(b)(6) and the Plausibility Standard

         “A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) challenges the

viability of a complaint by arguing that it fails to state a claim upon which relief may be

granted.” Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736 (7th Cir. 2014); see

also Hill v. Serv. Emp. Int’l Union, 850 F.3d 861, 863 (7th Cir. 2017). Under Rule 8(a)(2), a

complaint must include “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). To survive a Rule 12(b)(6) challenge, a “complaint

must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic v. Twombly, 550

U.S. 544, 570 (2007) ). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the




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      Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 4 of 52 PageID #:3964



misconduct alleged.” Mann v. Vogel, 707 F.3d 872, 877 (7th Cir. 2013). Courts, of course,

accept all well-pleaded facts as true and draw reasonable inferences in the plaintiff’s favor. See,

e.g., Forgue v. City of Chicago, 873 F.3d 962, 966 (7th Cir. 2017). After “excising the

allegations not entitled to the presumption” of truth, courts “determine whether the remaining

factual allegations plausibly suggest an entitlement to relief.” McCauley v. City of Chicago, 671

F.3d 611, 616 (7th Cir. 2011).

II.       The Materials Upon Which the Court Relies on a Rule 12(b)(6) Motion

          In addition to well-pleaded facts, “a court ruling on a motion to dismiss can rely on the

complaint itself, documents attached to the complaint, documents that are critical to the

complaint and referred to in it, and information that is subject to proper judicial notice.” Olson v.

Bemis Co., 800 F.3d 296, 305 (7th Cir. 2015); see also, e.g., Geinosky v. City of Chicago, 675

F.3d 743, 745 n. 1 (7th Cir. 2012). Further, although a “complaint may not be amended by the

briefs in opposition to a motion to dismiss,” Agnew v. Nat’l Collegiate Athletic Ass’n, 683 F.3d

328, 348 (7th Cir. 2012), courts may “consider additional facts set forth in” a brief opposing

dismissal “so long as those facts are consistent with the pleadings,” Phillips v. Prudential Ins.

Co. of Am., 714 F.3d 1017, 1019–20 (7th Cir. 2013) (quoting Geinosky, 675 F.3d at 745 n. 1);

see also, e.g., Jones v. Sparta Cmty. Hosp., 716 F. App’x 547 (7th Cir. 2018) (“because

[plaintiff-appellant] now elaborates on the factual allegations in his amended complaint, and his

elaborations are consistent with the pleadings, we consider that information in our review”);

Heng v. Heavner, Beyers & Mihlar, LLC, 849 F.3d 348, 354 (7th Cir. 2017) (“Materials or

elaborations in appellants’ brief opposing dismissal may be considered, so long as those

materials or elaborations are consistent with the pleadings.”); Martin v. Cook Cnty., Ill., No. 17 C

2330, 2018 WL 1942654, at *1 (N.D. Ill. Apr. 25, 2018) (a court may consider “additional facts




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     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 5 of 52 PageID #:3965



set forth in [plaintiff’s] brief opposing dismissal, so long as those additional facts are consistent

with the pleadings.”). “To the extent that an exhibit attached to or referenced by the complaint

contradicts the complaint’s allegations, the exhibit takes precedence.” Phillips, 714 F.3d at

1020.

                                           BACKGROUND

I.       DMSs, Data Integration, and Auto Dealers

         This case concerns the data services and businesses upon which auto dealers rely in

conducting their operations.1 Two purported markets in that space are of principal relevance

here: the DMS market and the data-integration market.

         A.     The DMS Market

         DMS software is the “central nervous system” of a dealership. (Compl. ¶ 28.) It is

essentially enterprise software designed specifically for dealers, and a DMS manages “virtually

every aspect of a dealer’s business.” (Id.) Specifically, DMS software handles information

regarding sales, financing, part and vehicle inventory, repair and service, accounting, payroll,

human resources, marketing, and still more. In addition to some management functionalities, a

DMS is a database in which dealers effectively house this critical information and data. A dealer

has only one DMS provider at a time; it would be “functionally impossible” for a dealer to try to

use more than one. A DMS provider licenses its software to a dealer through a written contract



1
  In its opposition, Authenticom cites many facts adduced by the parties at the preliminary-injunction
hearing. The Court generally finds that those facts do not add anything material to the Complaint, but
credits them only to the extent that they are relevant and actually consistent with the Complaint’s
allegations. See Phillips, 714 F.3d at 1020; see also, e.g., Sorrentino v. Godinez, No. 12 C 6757, 2013
WL 5497244, at *4 (N.D. Ill. Oct. 3, 2013), aff’d as modified, 777 F.3d 410 (7th Cir. 2015) (not crediting
“new facts” that were inconsistent with pleadings); Jones v. Chicago Bd. of Educ., No. 11 C 8326, 2013
WL 1499001, at *2 (N.D. Ill. Apr. 10, 2013) (not crediting “new allegations” that formed new bases for
proposed relief). The Court also considers the CDK-Reynolds agreements at issue, as they are central to
the Complaint. See, e.g., Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012). 


                                                    5
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 6 of 52 PageID #:3966



generally lasting between five to seven years. The Complaint defines the DMS market as

providers that sell DMS software to dealers in the United States. (Id. ¶ 32.)

        CDK and Reynolds “dominate” the DMS market. (Id. ¶ 33.) Viewed by

dealer-customers, they together control approximately 75 percent of the market. CDK has

approximately 45 percent of it, and Reynolds has approximately 30 percent. Viewed by the

number of vehicles sold, their collective control increases to approximately 90 percent.

        As alleged duopolists, CDK and Reynolds enjoy a profitable business. They each, for

example, earn approximately 40 percent profit margin. Their customers, the dealers, are also

unable to freely switch between DMS providers. In addition to the contract lengths, “it is

enormously difficult and disruptive for a dealer to switch DMS” given the costs of transferring

data, retraining employees, and reconfiguring systems. (Id. ¶ 40.) Adding to those “logistical

nightmares,” the Complaint claims that CDK and Reynolds “punish” dealers that try to change

DMS providers through lawsuits and by restricting third-party access to the dealers’ DMS-stored

data. In part for those reasons, the average DMS-dealer relationship lasts more than 20 years.

(Id. ¶ 44.)

        B.      The Data-Integration Market

        Critical as it is, a dealer’s DMS is not the only data service upon which it relies. Many

dealers use third-party application providers—or vendors—for service and management

applications. These applications help a dealership, for example, track vehicle inventory,

customer information, service and repair appointments, and recalls. Most dealerships have ten or

more vendors.

        To make their applications, vendors require access to dealerships’ data—which is stored

on DMSs. A vendor that provides an application organizing vehicle registration and titling must




                                                 6
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 7 of 52 PageID #:3967



be able to obtain purchaser, vehicle, and financing information from a dealer’s DMS. Some

vendors, further, must be able to input data into a DMS. For example, an application that

handles customer information must be able to “push” sales information into the DMS when a

dealership sells a car from the lot. The Complaint does not estimate how many vendors exist,

but it asserts that both CDK and Reynolds offer application services. CDK and Reynolds both,

for example, offer relationship-management applications, and they jointly operate a provider of

electronic-vehicle registration and titling.

       Vendors, however, do not access the DMSs directly. Instead, data integrators—like

Authenticom—provide this service to vendors. Data integrators “specialize in extracting dealers’

data from DMS databases, aggregating that data and putting it into a standard format, and then

delivering to vendors the specific data required for their applications.” (Id. ¶ 54.) To pull the

needed data from the DMS, data integrators generally receive authorization from dealerships. In

many cases, including Authenticom’s, dealers set up separate login credentials for the integrators

so that they can access the DMSs. Once in, data integrators “data scrape” or “screen scrape” the

DMS, an automatic process that pulls relevant data. Although dealers generally choose whether

to authorize integrators’ access to the DMSs, they do not directly pay integrators. Vendors, as

the customers receiving the integrators’ data output, make the payments.

       Dealers “own” their data in the DMSs. The Complaint quotes a Reynolds spokesperson

as having stated, “The data belongs to the dealers. We all agree on that.” (Id. ¶ 65.) CDK,

likewise, has stated publicly that it “has always understood that dealerships own their data and

enjoy having choices on how best to share and utilize the data with others.” (Id. ¶ 66.) Both

CDK’s and Reynolds’s websites make similar claims. Similarly, the Complaint cites a number

of statements by CDK representatives (though not Reynolds representatives) making clear that




                                                 7
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 8 of 52 PageID #:3968



dealers can permit third-party access to their DMS-stored data, at least before 2015. To take just

one example, Matt Parsons, CDK’s vice president of sales, stated in 2007, “We’re not going to

limit the ability of a dealer to give an ID to someone else to, in essence, dial into their system.

That is the dealer’s right. We have no right to tell them they can’t do that.” (Id. ¶ 70.)

       The Complaint defines the data-integration market as comprised of providers of

integration services in the United States. According to the Complaint, there used to be

“numerous” data integrators. Today, only CDK, Reynolds, and Authenticom remain.

       Steve Cottrell founded Authenticom in 2002. Authenticom’s feature product is

DealerVault, which gives dealerships “state-of-the-art control over how their data is pulled and

shared.” (Id. ¶ 78.) In addition to pulling data from DMSs, Authenticom has begun, in limited

fashion, “pushing” data as well, which benefits vendors and dealers in that it expands the

services provided. Before accessing a dealer’s DMS, Authenticom secures the dealer’s—though

not the DMS provider’s—express authorization. The Complaint also highlights that

Authenticom has never incurred a data breach and that its tools and practices are secure. As to

pricing, Authenticom generally charges approximately $25 for a first data set, and $50 for two or

more. The average price Authenticom charges a vendor is between $30 and 40 per month for

one dealership.

       CDK and Reynolds also offer integration services. CDK, for its part, owns the two

largest data integrators in the market—Digital Motorworks and IntegraLink. It also offers a

product that permits direct access to CDK DMSs, called the 3PA program. Digital Motorworks

and IntegraLink function like Authenticom; they obtain login credentials for a DMS from the

dealer, then extract and format the data. Indeed, Digital Motorworks and IntegraLink formerly

pulled data from Reynolds DMS for vendors. Reynolds did not begin to block CDK “and




                                                  8
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 9 of 52 PageID #:3969



others” from doing so until 2009. (See id. ¶ 91.) After Reynolds began to block Digital

Motorworks and IntegraLink—that is, prevent them from accessing Reynolds DMSs—CDK

devised the “SMART-R” solution, which permitted its integrators to continue to access Reynolds

DMSs. As a result, CDK (through Digital Motorworks and IntegraLink) continued to access

Reynolds DMSs on behalf of its vendor clients, again at least until 2015.

       Unlike Digital Motorworks and IntegraLink, 3PA, also known as “Third Party Access,”

allows access to CDK DMSs only. CDK’s 3PA formerly offered three “levels”: one supplied

vendors with login credentials for the dealership’s system, another allowed third parties

“subscriber access” that the dealer controlled, and a third permitted real-time access to CDK

DMSs. That, too, changed after the alleged anticompetitive agreements of 2015, when CDK

revised 3PA to prohibit dealer control over third-party access to CDK DMSs. CDK represented

that the change was the result of its “SecurityFirst” initiative, which ended up increasing charges

to vendors to approximately $250 to $300 per connection—almost triple what it charged before

the 2015 revision, and far more than the $25 to $50 per connection that Authenticom charges.

Today, CDK has taken the position that 3PA is the “only approved method for accessing” CDK

DMSs. (Id. ¶ 101.) CDK considers all other access “unauthorized,” and it forbids vendors from

obtaining data on a CDK DMS from any integrator other than 3PA.

       Reynolds does not offer integration services to access other providers’ DMS software,

but it does offer the Reynolds Certified Interface Program (“RCI”). RCI is an “equivalent” to

CDK’s 3PA, and it is the only Reynolds-authorized method by which vendors can access

Reynolds DMSs. (Id. ¶¶ 102–103.) Like with CDK and 3PA, Reynolds contractually restricts

both dealers and vendors from using integrators other than RCI to access Reynolds DMSs.

Reynolds’s RCI pricing is not publicly available, but the Complaint represents that it is “even




                                                 9
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 10 of 52 PageID #:3970



steeper” than CDK’s 3PA pricing. (Id. ¶ 104.)

       The Complaint describes other integrators that, though once successful, have been forced

out of business as a result of Reynolds’s prohibition and CDK’s more-recent prohibition on

third-party access to their respective DMSs. Those prohibitions, while having the purported

effect of excluding data integrators from the data-integration market generally, also allow CDK

and Reynolds (through 3PA and RCI, respectively) to dominate their single-brand aftermarkets.

The Complaint alleges that such aftermarkets are cognizable in this case, because when dealers

purchase a DMS, they are “locked in” to that purchase through high switching and information

costs. (Id. ¶ 112.) A vendor who wants to work with both CDK and Reynolds dealers must

purchase both 3PA and RCI services. In turn, Defendants can, and do, charge supracompetitive

pricing for their respective integration services.

       C.      CDK and Reynolds Pre-2015 Treatment of Data Integrators and Third-Party
               Access

       Initially, and for over a decade, all DMS providers—CDK and Reynolds included—

permitted dealers the right to authorize third-party access to the DMSs. That industry-wide

agreement began to erode in 2007, when Reynolds announced that it would start blocking data

integrators from Reynolds DMSs. Since then, Reynolds has considered third-party, unauthorized

scraping of its DMSs as “hostile access.” As a result of this policy change, Reynolds began

disabling Authenticom’s credentials in 2009 by imposing “challenge questions” and “captcha”

(entry requests to enter random or blurred text), which identify non-human users. In 2013,

Reynolds began disabling Authenticom’s credentials en masse.

       CDK, on the other hand, countenanced third-party access for far longer. Indeed, CDK

touted its open architecture. Its CEO, for example, publicly stated, “We’re not going to prohibit”

integrators’ access “or get in the way of that. . . I think we’ve stated pretty emphatically, we



                                                     10
    Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 11 of 52 PageID #:3971



really believe the dealer owns the data. I don’t know how you can ever make the opinion that the

data is yours to govern and to preclude others from having access to it.” (Id. ¶ 6.) In 2015,

however, CDK came to echo Reynolds’s disapproval of third-party access.

II.     CDK and Reynolds’s Alleged Conspiracies

        The Complaint alleges that in February 2015, CDK and Reynolds “entered into an

agreement to eliminate competition in the Dealer Data-integration market and the single-brand

after markets.” (Id. ¶ 117.) Essentially, these agreements took two forms—written agreements,

signed in early 2015, and a general understanding. The alleged purpose of Defendants’

agreements was twofold: first, to protect vendors from siphoning any part of their DMS market

duopoly by offering services that could compete with DMS software, and second, to protect

CDK and Reynold’s data-integration businesses and aftermarket single-brand monopolies.

        A.      The February 2015 Agreements

        Effective February 18, 2015, CDK and Reynolds entered into a Data Exchange

Agreement (the “DEA”).2 The DEA purportedly served as a wind-down arrangement, in which

CDK agreed to eventually restrict (during a term that could last up to five years) its integrators—

Digital Motorworks and IntegraLink—from accessing Reynolds DMSs. (See R. 54, Ex. 1 § 4.0.)

As a part of that wind-down arrangement, CDK agreed to “cooperate” in efforts to have Digital

Motorworks’s and IntegraLink’s vendor-clients join RCI. (Id. § 4.1.) The wind-down

arrangement also featured Section 4.5, titled a “Prohibition on Knowledge Transfer and DMS

Access,” which stated:

        Each of Reynolds and CDK further covenants and agrees not to sell, transfer, or
        assign to any affiliate or third party any technology, business process, or other such
        knowledge regarding integration with the other party’s DMS or take any other step

2
 The Complaint misattributes several quotes to and provisions of the DEA. The Court reviews and
credits what the agreement actually says, Phillips, 714 F.3d at 1020, as do both parties in their briefs.


                                                     11
    Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 12 of 52 PageID #:3972



        to assist any person that it reasonably believes to have plans to access or integrate
        with the other party’s DMS without the other party’s written consent. For the
        avoidance of doubt, this Section 4.5 is not intended as a “covenant not to compete,”
        but rather as a contractual restriction of access and attempted access intended to
        protect the operational data security integrity of Reynolds DMS and CDK DMS
        and protection of intellectual property.

(Id. § 4.5.) According to Authenticom, this arrangement constituted an agreement to divide the

market: Reynolds would not access, or aid the access of, CDK DMSs without CDK’s

permission,3 and CDK would not access, or aid the access of, Reynolds DMSs without

Reynolds’s permission. Section 4.5’s terms do not expire. (Id; id. § 6.1.)

        The parties also entered into two, contemporaneously executed, reciprocal agreements.

In the “3PA Agreement,” Reynolds’s vendor applications received five years’ of free data

integration using 3PA to access CDK DMSs. (See 54, Ex. 2; R. 54 at 8; 56 at 11.) In the

“Reynolds Interface Agreement” (collectively, with the DEA and 3PA Agreement, the “2015

Agreements”), CDK agreed to enlist seven of its vendor applications in the RCI program to

access Reynolds DMSs. (See 54, Ex. 3; R. 54 at 8; R. 56 at 11.) By way of both agreements,

Defendants, in their capacity as application providers (though only for seven of CDK’s

applications4), agreed not to use other integrators when extracting data from the other’s DMSs.

Specifically, Reynolds agreed that it would not “otherwise access, retrieve, license, or otherwise

transfer any data from or to a CDK System (including, without limitation, pursuant to any

‘hostile interface’) for itself or any other entity,” nor contract with a third-party to access CDK

DMSs. (R. 54, Ex. 2 § 1(e).) CDK likewise agreed to a provision titled “Non-Approved

Access,” which prohibited it from obtaining “[a]ny direct or indirect access of the Reynolds


3
 There are no allegations (or facts cited) that such access was possible at the time, however, as Reynolds
was not engaged in integration of other providers’ DMSs.  
4
  CDK makes much of this point (e.g., R. 54 at 8), but does not assert, nor provide judicially noticeable
facts showing, what portion of CDK’s application business these seven applications constituted.


                                                    12
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 13 of 52 PageID #:3973



System for the benefit” of the applications “by CDK or an agent acting on behalf of CDK other

than with Reynolds’ prior written consent.” (R. 54, Ex. 3 § 1.8.)

        B.      The General Agreement to Oust Authenticom

        In addition to a market-division agreement, the Complaint alleges that Defendants

reached a broader agreement to expel Authenticom and other third parties from the data-

integration market. Defendants have allegedly conveyed this agreement to Authenticom. On

April 3, 2016, Dan McCray, CDK’s Vice President of Product Management, approached Mr.

Cottrell at an industry convention. Mr. McCray led Mr. Cottrell off the convention floor and to a

secluded area. There, he told Mr. Cottrell that CDK and Reynolds had agreed to “lock you and

the other third parties out.” (Compl. ¶ 180.) Regarding an offer CDK had made to acquire

Authenticom’s business for approximately $15 million, Mr. McCray asserted that the offer was

relatively low because Authenticom’s “book of Reynolds business is worthless to us because of

the agreement between CDK and Reynolds.” (Id.) Mr. McCray then threatened: “I wanted to

look you in the eye and let you know man to man, I have been mandated by our new CEO to

seek you out and destroy your business on our systems.” (Id.) Regarding CDK-dealer contracts

prohibiting third-party access, Mr. McCray stated further, “we will enforce our contract with the

dealers and sue them if needed to keep you out of our systems.” He concluded, “For god’s sake .

. . you have built a great little business, get something for it before it is destroyed otherwise I will

f***ing destroy it.” (Id.) Steve French, CDK’s Senior Director of Client and Data Services and

former Reynolds employee, delivered a similar (albeit more tempered) explanation of the

supposed CDK-Reynolds agreement to a vendor. In attempting to move a vendor over to the

3PA program, Mr. French stated that he was working with Reynolds to lock out third-party

integrators like Authenticom. (Id. ¶ 183.)




                                                  13
    Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 14 of 52 PageID #:3974



        Reynolds’s executives have delivered the same message to Authenticom. In May 2015,

Robert Schaefer, Reynolds’s Director of Data Services and the person in charge of the RCI

program, told Mr. Cottrell during a phone conversation that CDK and Reynolds had an

agreement to support each other’s 3PA and RCI programs, and therefore block integration

competitors like Authenticom. Mr. Schaefer shared with Mr. Cottrell that Bob Brockman,

Reynolds’s Owner, Chairman, and CEO, was “adamant” about blocking independent data

integrators. (Id. ¶ 181.)

        The Complaint cites examples of Defendants carrying out these shared threats. Reynolds

unsuccessfully proposed a wind-down agreement with Authenticom, and CDK began blocking

Authenticom from their DMSs. In August 2016, for example, CDK disabled Authenticom’s

credentials at thousands of dealerships. After doing so, CDK sent a letter to all dealers whose

vendors use Authenticom. The message said that the dealers must join the 3PA program to avoid

business “disruption.” (Id. ¶ 201.) Reynolds has delivered similar messages. (Id. ¶ 202.)

III.    CDK and Reynolds’s Alleged Vertical Restraints

        In addition to those agreements between competitors, the Complaint claims that

Defendants have entered into anticompetitive agreements with their vendors and dealers.5

        A.      Vendor Agreements

        CDK requires that any vendor using 3PA for any of its dealer-customers on a CDK DMS

must agree to use 3PA exclusively for all of its of its dealer-customers on CDK DMSs. The

penalty for failing to comply with this exclusive arrangement is termination of the agreement




5
 The Complaint is unclear as to whether these agreements were horizontal as well as vertical; that is, it is
unclear whether Defendants allegedly agreed with one another to have exclusive-dealing and tying
arrangements with their respective vendors and dealers. Authenticom’s opposition brief clarifies that it
pursues these theories as vertical in nature. (See R. 59 at 14–15, 26–34.)  


                                                     14
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 15 of 52 PageID #:3975



(and thus access to dealer data stored on CDK DMSs). The terms of these exclusivity clauses

purportedly “last forever,” according to the Complaint. Reynolds has similar terms in its vendor

contracts. Likewise, in its RCI contracts, Reynolds requires that the vendor agree not to use any

“Non-Approved Access” to Reynolds DMSs. These terms last as long as the agreement is in

effect, which generally constitutes three years plus any one-year renewals.

       CDK and Reynolds also both include “price secrecy” provisions in their vendor contracts.

These provisions prevent vendors from sharing with dealers information about how much

Defendants charge for data access. The CDK 3PA contract, for example, states that vendors

“shall not include any interface fee, DMS access fee or any other similar fee related to the use of

the CDK Interface System in any of its invoices to its customers or otherwise include any direct

or indirect indication to its customer (in its invoices or otherwise) of the fees charged by CDK

hereunder.” (Id. ¶ 167.) Reynolds’s RCI contracts contain a similar provision binding the

vendors from sharing pricing information with their customers, the dealers.

       B.      Dealer Agreements

       As for the contracts with dealers, both Defendants purportedly require that dealers agree

that they will not provide access to the DMS to anyone other than the DMS provider for data-

integration purposes. CDK’s standard DMS contract, for example, contains a clause stating:

“Client is not authorized to cause or permit any third party software to access the CDK Dealer

Management System,” and “Client shall not allow access to [the CDK DMS] by any third parties

except parties otherwise permitted,” which includes the dealer’s “employees and agents.” (Id.

¶ 151.) According to the Complaint, CDK used to take the position that its contracts permitted

integrators to access CDK DMSs—as demonstrated by its self-touted open architecture—but it

now takes the opposite stance. CDK’s contract provisions last for the contract’s five-year




                                                15
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 16 of 52 PageID #:3976



duration. Reynolds has similar provisions in its standard DMS contracts. Those contracts bar

dealers from “provid[ing] access to the [Reynolds DMS] . . . to any third party.” (Id. ¶ 152.)

Reynolds’s restriction clauses, too, last for the contract’s duration, which is generally five to

seven years.

       CDK and Reynolds, respectively, enforce these contract provisions by disabling third-

party user credentials (like those upon which Authenticom relies) to access their DMSs. When

one dealer complained to CDK, CDK cited in response the authorization provisions of its

standard contract. Reynolds, further, has filed lawsuits against data integrators for tortiously

interfering with their dealer contracts by accessing (presumably with dealer authorization)

Reynolds DMSs.

IV.    Alleged Competitive Harm

       The Complaint claims that Defendants’ conduct has harmed the markets in essentially

two ways: one, it has allowed Defendants to increase the prices they charge for their integration

services, and two, it has reduced consumer choice and output.

       A.      Price Increase

       As noted, Authenticom generally charges $25 for one data feed and $50 for two to seven.

As such, Authenticom customers generally pay between $30 to $40 dollars for services per

month. Authenticom also charges $75 dollars for “bi-directional access” to dealer data. These

prices are comparable to those charged by most other data integrators. One, for example,

charges $40 per connection and $70 per connection for bi-directional access. CDK and

Reynolds, on the other hand, charge much higher prices for integration. One vendor used to pay

an integrator a rate of $45 to $55 per month; it now pays Reynolds and CDK between $300 to

$866 per month. CDK used to charge $70 per connection, for example, but since 2015, now




                                                 16
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 17 of 52 PageID #:3977



charges upwards of $300. Likewise, post-2015, Reynolds continues to raise prices for

integration services. Defendants, moreover, charge substantial upfront fees. It costs “at least”

$30,000 to join the 3PA and RCI programs, and the setup fees for such services are

approximately $300.

         B.     Reduced Consumer Choice and Output

         Defendants’ conduct has also reduced output in the data-integration market and

downstream markets, the Complaint claims. Dealerships and vendors prefer Authenticom

because of its higher-quality services and better prices, but Defendants’ contracts with dealers

and vendors—and the general exclusion of Authenticom and other integrators from the market—

effectively require both to use (indirectly and directly) Defendants’ integration products.

Defendants’ higher prices also hinder the third-party application market. One vendor, for

example, closed one of its application products because of Reynolds’s high integration fees.

Another expressed concerns about going out of business because it could not afford Defendants’

integration costs.

                                              ANALYSIS6

         Authenticom brings five counts—four based on alleged violations of the Sherman Act,

one based on state tort law. Defendants have moved to dismiss all counts. The Court addresses

them in turn.

I.       Antitrust Claims (Counts One Through Four)

         Counts One through Four of the Complaint entail claims under both Sections 1 and 2 of



6
  The Court is presently ruling only on the motions to dismiss the as-filed, as-briefed Authenticom
Complaint. To the extent later-filed complaints entail varying allegations and theories, later decisions
will account for them. Further, the Court notes that the preliminary injunction opinion does not dictate
the conclusions of this motion to dismiss ruling, as the Authenticom district court indicated. (See Case
No. 18-cv-868, R. 209.)


                                                    17
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 18 of 52 PageID #:3978



the Sherman Act, based on several anticompetition theories. Defendants challenge each of those

claims as insufficiently pleaded, but also argue that Authenticom’s claims fail for threshold

reasons concerning antitrust defenses and injury.

       A.      The Computer Fraud and Abuse Act and Other Cyber-Security Laws

       Defendants argue that Authenticom’s Sherman Act claims fail at the start because they

seek to vindicate an illegal trade through an antitrust lawsuit. Defendants contend, specifically,

that the Complaint affirmatively pleads Authenticom’s violations of the Computer Fraud and

Abuse Act (“CFAA”), 18 U.S.C. § 1030 et seq., the Wisconsin Cyber Crimes Act (“WCCA”),

Wis. Stat. § 943.70, and other cyber-security laws. The CFAA, for example, imposes criminal

liability on anyone who “intentionally accesses a computer without authorization or exceeds

authorized access, and thereby obtains . . . information from any protected computer.” 18 U.S.C.

§ 1030(a)(2)(c). Defendants argue that the Complaint makes clear that Authenticom did just that

by accessing DMSs (protected computers) and pulling data without authorization (from

Defendants). Having admitted as much, Defendants submit, Authenticom cannot now seek

refuge under the Sherman Act. The Court disagrees.

       Courts have generally held that a plaintiff’s wrongdoing is not a defense to an antitrust

suit. The Supreme Court decided in Perma Life Mufflers, Inc. v. Int’l Parts Corp., 392 U.S. 134,

140 (1968) (plurality), that the in pari delicto doctrine—a common-law defense that curbs or bars

recovery where the claimant is also at fault for her injury—“is not to be recognized as a defense

to an antitrust action.” As the Seventh Circuit later put it, “[p]roof of the plaintiff’s unrelated

unlawful conduct is not a valid in pari delicto defense to an antitrust charge.” Pinto Trucking

Serv., Inc. v. Motor Dispatch, Inc., 649 F.2d 530, 534 n. 5 (7th Cir. 1981); see also Gen.

Leaseways, Inc. v. Nat’l Truck Leasing Ass’n, 830 F.2d 716, 720 (7th Cir. 1987) (“Strictly




                                                  18
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 19 of 52 PageID #:3979



speaking, the common-law form of the [in pari delicto] defense is not available to defendants in

antitrust lawsuits.”); see also Phillip E. Areeda, Herbert Hovenkamp, ANTITRUST LAW: AN

ANALYSIS OF ANTITRUST PRINCIPLES AND THEIR APPLICATION ¶ 361 (3rd and 4th eds. 2010–

2017). Memorex Corp. v. Int’l Bus. Machs. Corp., 555 F.2d 1379 (9th Cir. 1977), is also

illustrative. In that case, the Ninth Circuit held that a plaintiff’s alleged theft of a defendant’s

trade secrets did not prevent that plaintiff from bringing an antitrust suit. The plaintiff, Memorex

Corporation, had sued the defendant, IBM, for violating the antitrust laws. Memorex, 555 F.2d

at 1380. IBM responded by asserting that the only reason Memorex even existed in the relevant

market was because it had stolen IBM’s trade secrets. Id. The district court struck that defense,

and the Ninth Circuit affirmed. It held: “A wrongful act committed against one who violates the

antitrust laws must not become a shield in the violator’s hands against operation of the antitrust

laws. This is particularly true when the defendant has other remedies available to him.” Id. at

1382.

        Under that law, Authenticom’s purported wrongdoing is of no matter at this stage.

Defendants may have claims against Authenticom under the CFAA and related state laws—

indeed, Authenticom’s docket and defense counsel’s representations in court suggest that they

may bring such claims—but those claims do not foreclose Authenticom’s Sherman Act claims.

See id. Both things can be true: Defendants may be able to state valid cyber-security claims

against Authenticom and Authenticom may be able to state valid antitrust claims against

Defendants.

        Defendants, however, contend that Authenticom’s purported wrongdoing does not

provide a defense for Defendants inasmuch as it deprives Authenticom of a claim, and more

specifically, of antitrust injury. That overstates the law. Defendants rely heavily on, for




                                                  19
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 20 of 52 PageID #:3980



example, Maltz v. Sax, 134 F.2d 2, 5 (7th Cir. 1943). In that case, Seventh Circuit held that the

manufacturer of gambling “punchboards” could not bring an antitrust suit because gambling was

illegal under federal law. Maltz, 134 F.2d at 5. As the court summarized: “He had no legal

rights to protect. Therefore defendants could not invade them.” Id. Likewise, in In re Canadian

Imp. Antitrust Litig., 470 F.3d 785, 791 (8th Cir. 2006), the Eighth Circuit held that consumers

could not bring an antitrust claim based on drug manufacturers’ restrictions on importing

prescription drugs from Canada because doing so would violate federal law. “The absence of

competition from Canadian sources in the domestic prescription drug market . . . is caused by the

federal statutory and regulatory scheme adopted by the United States government, not by the

conduct of the defendants,” the court reasoned in holding that consumers lacked antitrust

injury. Canadian Imp., 470 F.3d at 791. Defendants’ other cases stand for the same

proposition—that a plaintiff whose desired trade is illegal independent of the defendants’

complained-of conduct lacks antitrust injury. See Bubis v. Blanton, 885 F.2d 317, 320 (6th Cir.

1989) (plaintiff lacked standing to challenge alleged collusion in denial of a liquor license

because the plaintiff’s “interest in [the store] at the time of the attempted transfer of the liquor

license was unlawful”); Realnetworks, Inc. v. DVD Copy Control Ass’n, Inc., No. C 08-4548

MHP, 2010 WL 145098, at *6 (N.D. Cal. Jan. 8, 2010) (plaintiff lacked antitrust injury because

its product manufacturing had “almost certainly” violated the law); Modesto Irrigation Dist. v.

Pac. Gas & Elec. Co., 309 F. Supp. 2d 1156, 1170 (N.D. Cal. 2004) (plaintiff lacked antitrust

injury because its conduct was “unlawful by its own terms”); Pearl Music Co. v. Recording

Indus. Ass’n of Am., Inc., 460 F. Supp. 1060, 1068 (C.D. Cal. 1978) (because plaintiff’s business

was “totally illegal” in 49 states, it lacked “standing or capacity” to bring antitrust suit).

        In this case, unlike in those cases, Authenticom’s as-alleged practices are not illegal




                                                  20
    Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 21 of 52 PageID #:3981



independent of Defendants’ challenged conduct. Accord Linea Internacional de Credito, S.A. v.

W. Union Fin. Servs., Inc., No. 03 C 6736, 2004 WL 1336302, at *3 (N.D. Ill. June 14, 2004)

(distinguishing Maltz, stating “[i]t is not clear from the complaint that plaintiff’s business is

inseparably connected with gambling or that its services could only be used in furtherance of

gambling”); Monarch Marking Sys., Inc. v. Duncan Parking Meter Maint. Co., No. 82 C 2599,

1988 WL 23830, at *1 (N.D. Ill. Mar. 8, 1988) (granting reconsideration of dismissal of antitrust

claim because there was some “possibility” that part of claimant’s business was legal and

therefore it could establish cognizable injury) (emphasis in original). The Complaint alleges that

Defendants’ anticompetitive conduct blocked or foreclosed Authenticom from the

data-integration market. That is, the Complaint claims that Authenticom lacks authorization or

access to Defendants’ DMSs (which is necessary to compete in the data-integration market,

given Defendants’ upstream duopoly) because of Defendants’ anticompetitive conduct—and it is

that conduct which Authenticom challenges as illegal.7

        Defendants argue that simply because user authorization—or rather the lack thereof—is

what makes Authenticom’s conduct a potential crime does not distinguish this from cases like

Maltz and Canadian Import. They submit that many property crimes turn on owner approval.

While that may be true, it is beside the point. Even assuming, without deciding, that the CFAA

prohibits Authenticom from accessing DMSs without Defendants’ authorization, Defendants are

not free to withhold such approval pursuant to illegal arrangements. See, e.g., Primetime 24

Joint Venture v. Nat’l Broad., Co., 219 F.3d 92, 99, 103 (2d Cir. 2000) (although a law permitted



7
 None of this comes close to saying that CDK and Reynolds, respectively, have independent antitrust
duties to allow Authenticom and other integrators authorization and access. Rather, the question of this
case is whether Defendants’ refusal to grant such authorization and access, and more specifically their
attendant blocking, was the result not of a unilateral refusal to deal, but of illegal conspiracies and
anticompetitive arrangements (like tying or exclusive dealing) recognized by the antitrust laws.


                                                   21
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 22 of 52 PageID #:3982



networks and stations to withhold their licenses, plaintiff adequately stated a Section 1 claim by

alleging that they had colluded to do so); see also Broad. Music, Inc. v. Columbia Broad. Sys.,

Inc., 441 U.S. 1, 19 (1979) (“the copyright laws confer no rights on copyright owners to fix

prices among themselves or otherwise to violate the antitrust laws”); accord Aspen Skiing Co. v.

Aspen Highlands Skiing Corp., 472 U.S. 585, 608 n. 38 (1985) (“In considering the competitive

effect of [a firm’s] refusal to deal or cooperate . . . it is not irrelevant to note that similar conduct

carried out by the concerted action of three independent rivals with a similar share of the market

would constitute a per se violation of § 1 of the Sherman Act.”).

        In any event, Defendants also overstate the extent to which the Complaint demonstrates

Authenticom’s lack of “authorization.” According to the Complaint, CDK had long permitted,

indeed encouraged, third-party integration on its DMS. See Facebook, Inc. v. Power Ventures,

Inc., 844 F.3d 1058, 1069 (9th Cir. 2016), cert. denied, 138 S. Ct. 313 (2017) (“Because Power

had implied authorization to access Facebook’s computers, it did not, at first, violate the

statute.”) (emphasis added). In light of that well-pleaded history, the Court cannot determine as

a matter of law that Authenticom lacked authorization to access CDK DMSs before 2015.

Although Reynolds presents a different case, “authorization” here is “a factual matter” and “not

properly before the Court based on the pleadings alone, and thus a precise delineation of whether

the events in question may or may not be covered under the statute is premature.” Weingand v.

Harland Fin. Sols., Inc., No. C-11-3109 EMC, 2012 WL 3763640, at *2 (N.D. Cal. Aug. 29,

2012). Authenticom has therefore not pleaded itself out of antitrust injury at this stage.

        B.      Authenticom’s Section 1 Claims

        Turning to Authenticom’s Section 1 claims, the Complaint alleges both horizontal

agreements (between Defendants) and vertical agreements (between each Defendant and its




                                                   22
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 23 of 52 PageID #:3983



dealers and vendors). Section 1 of the Sherman Act declares illegal “[e]very contract,

combination in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce

among the several States . . .” 15 U.S.C. § 1. To state a Section 1 claim, a plaintiff must plead

facts plausibly suggesting: (1) a contract, combination, or conspiracy (meaning, an agreement);

(2) a resulting unreasonable restraint of trade in a relevant market; and (3) an accompanying

injury. Agnew, 683 F.3d at 335.

       Plausibly pleading the first element, an agreement, requires “enough factual matter (taken

as true) to suggest that an agreement was made”—that is, “enough fact to raise a reasonable

expectation that discovery will reveal evidence of illegal agreement.” Twombly, 550 U.S. at 556.

Plaintiffs can do this in one of two ways, by pleading either direct or circumstantial evidence of

an illegal agreement. E.g., In re Text Messaging Antitrust Litig., 630 F.3d 622, 629 (7th Cir.

2010). Direct evidence of an agreement “is explicit and requires no inferences to establish the

proposition or conclusion being asserted.” In re Dairy Farmers of Am., Inc., Cheese Antitrust

Litig., 60 F. Supp. 3d 914, 950 (N.D. Ill. 2014) (quoting In re Baby Food Antitrust Litig., 166

F.3d 112, 118 (3d Cir. 1999)). Simply, direct evidence constitutes a “smoking gun.” Omnicare,

Inc. v. UnitedHealth Grp., Inc., 629 F.3d 697, 706 (7th Cir. 2011); accord In re High Fructose

Corn Syrup Antitrust Litig., 295 F.3d 651, 654 (7th Cir. 2002) (“an admission by the defendants

that they agreed to fix their prices is all the proof a plaintiff needs”). Circumstantial evidence, in

contrast, is facts “from which the existence of such an agreement can be inferred.” High

Fructose Corn Syrup, 295 F.3d at 654. Mere allegations of “parallel conduct,” without more, do

not “tend[ ] to exclude the possibility of independent action,” and are therefore insufficient.

Twombly, 550 U.S. at 554.




                                                  23
    Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 24 of 52 PageID #:3984



        The second element, an unreasonable restraint, hinges on whether the alleged violation is

per se unreasonable or is, instead, subject to the rule of reason.8 See In re Sulfuric Acid Antitrust

Litig., 743 F. Supp. 2d 827, 864 (N.D. Ill. 2010) (citing Denny’s Marina v. Renfro Prods., Inc., 8

F.3d 1217, 1220 (7th Cir. 1993)). Per se violations—those with which courts have “considerable

experience” and “inevitably result[ ] in a finding of anticompetitive effect”—are presumed to be

unreasonable restraints on trade. Phil Tolkan Datsun, Inc. v. Greater Milwaukee Datsun

Dealers’ Adver. Ass’n. Inc., 672 F.2d 1280, 1284 (7th Cir. 1982); see also, e.g., Omnicare, 629

F.3d at 706 (an unreasonable restrain is “conclusively presumed once the first [element] is

proved” in per se cases). Rule-of-reason violations, however, require that a plaintiff plead

“anticompetitive effects,” and “that the injury complained of be of a type that the antitrust laws

were designed to guard against, and further that the antitrust violation be the direct cause of

plaintiff’s injury.” Havoco of Am., Ltd. v. Shell Oil Co., 626 F.2d 549, 556 (7th Cir. 1980); see

also Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007) (rule of reason

ultimately requires “the factfinder [to] weigh[ ] all of the circumstances of a case in deciding

whether a restrictive practice should be prohibited as imposing an unreasonable restraint on

competition”); see also, e.g., Watkins v. Smith, No. 12 CIV. 4635 DLC, 2012 WL 5868395, at *7

(S.D.N.Y. Nov. 19, 2012) (“The rule-of-reason inquiry requires, at the motion to dismiss stage,

that the plaintiff identify the relevant market affected by the challenged conduct and allege an

actual adverse effect on competition in the identified market.”).

        Alleging the third element, antitrust injury, requires pleading an “injury of the type the

antitrust laws were intended to prevent and that flows from that which makes the defendants’

acts unlawful.” Southwest Suburban Bd. of Realtors, Inc. v. Beverly Area Planning Ass’n, 830


8
  Neither party suggests that the quick-look analysis is applicable to any of Authenticom’s claims at this
stage.


                                                    24
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 25 of 52 PageID #:3985



F.2d 1374, 1377 (7th Cir. 1987); accord United States ex rel. Blaum v. Triad Isotopes, Inc., 104

F. Supp. 3d 901, 924 (N.D. Ill. 2015).

               1. Horizontal Conspiracy Between Defendants (Count One)

       Count One of the Complaint claims a conspiracy between CDK and Reynolds,

competitors in both the DMS market and the data-integration market. Two related agreements,

essentially, comprise the alleged conspiracy: first, the Complaint alleges that Defendants agreed

to drive Authenticom and other third-party integrators out of the data-integration market by

blocking access to the dealers’ DMS-stored data, and second, the Complaint claims that

Defendants agreed to allocate their respective DMS single-brand aftermarkets through the 2015

Agreements.

                  a.    The Alleged Agreement to Block Authenticom’s Access to Dealer
                        Data

       The Complaint adequately alleges an agreement to drive Authenticom out of the market.

It claims that in May 2015, just three months after CDK and Reynolds executed the 2015

Agreements, a Reynolds executive referenced those agreements on a phone call with Mr.

Cottrell. He told Mr. Cottrell that CDK and Reynolds had agreed to “support each other’s”

integration programs and “therefore block competitors” like Authenticom from “pulling dealer

data.” (Compl. ¶ 181.) The Reynolds executive also told Mr. Cottrell that he was “in

communications” with other DMS providers to join “in the agreement to block independent data

integrators,” like Authenticom. (Id.) A CDK executive allegedly repeated that message to Mr.

Cottrell a year later, in April 2016. At an industry convention that month, CDK’s Vice President

of Product Management told Mr. Cottrell that CDK and Reynolds had agreed to “lock you and




                                               25
    Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 26 of 52 PageID #:3986



the other parties out.” (Id. ¶ 180.) In the same conversation, he then told Mr. Cottrell that he

planned to “destroy” Authenticom’s “great little business,” according to the Complaint.9

        These allegations straightforwardly suffice. They are, for one, direct-evidence

allegations of the agreement: Taken as true, the fact that two of Defendants’ executives admitted

an agreement to block Authenticom and other integrators from accessing dealer data shows

directly the existence of such an agreement. No further inference is required. See, e.g., Baby

Food, 166 F.3d at 118. Indeed, such “admission[s] by [ ] employee[s] . . . of the conspirators”

are textbook examples of adequate direct-evidence allegations. Text Messaging, 630 F.3d at 628;

see also W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 100 (3d Cir. 2010)

(defendant’s alleged admission of an “agreement” to do harm to plaintiff constituted direct-

evidence allegations); cf. In re Plasma-Derivative Protein Therapies Antitrust Litig., 764 F.

Supp. 2d 991, 998 (N.D. Ill. 2011) (“an admission by an insider” constitutes “direct evidence of

agreement”). Even if it were otherwise, and as Defendants assert, there was some ambiguity in

the admissions, they are at a minimum “highly suggestive of the existence” agreement to block

Authenticom from accessing dealer data and thus out of the market. High Fructose Corn Syrup,

295 F.3d at 662.

        The potential impact of the 2015 Agreements, and Section 4.5 of the DEA specifically,

further support the existence of the alleged agreement. Defendants correctly point out that the

2015 Agreements do not require them to preclude third-party integration on their own DMSs.

They do, however, effectively require that CDK stop hostile access of Reynolds DMSs (for a

period, at least) and, more importantly, expressly prohibit Defendants from assisting in the

hostile access of one another’s DMSs. Such a partial ceasefire and mutual forbearance between


9
  Authenticom also cites Mr. Cottrell’s preliminary-injunction testimony, which is consistent with these
factual allegations.


                                                    26
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 27 of 52 PageID #:3987



two rivals would make sense if—as the executives allegedly admitted—Defendants sought to

“support” one another’s integration services to the exclusion of third-party integrators from the

competition. Defendants also contend that there are legitimate explanations for the 2015

Agreements, such as resolving CDK’s hostile access and addressing security concerns. But at

this stage, it is reasonably inferable that such agreements were a part of the broader and admitted

agreement to block third-party integrators.

         That broader agreement is, moreover, anticompetitive. Under established law, “joint

efforts by a firm or firms to disadvantage competitors by either directly denying or persuading or

coercing suppliers or customers to deny relationships the competitors need in the competitive

struggle” merit per se treatment. Toys “R” Us, Inc. v. F.T.C., 221 F.3d 928, 936 (7th Cir. 2000)

(quoting Nw. Wholesale Stationers, Inc. v. Pac. Stationery & Printing Co., 472 U.S. 284, 294

(1985)); see also Klor’s, Inc. v. Broadway-Hale Stores, Inc., 359 U.S. 207, 212 (1959). In this

case, the Complaint in essence claims that Defendants conspired to block integrators from

accessing necessary data from the dealers—meaning, “relationships” integrators “need”—by

(among other things) withholding authorization and disabling third-party credentials, so that

Defendants, ultimately, could charge more for their integration services.

         Defendants do not contest that an agreement to block integrators from the market is

plausibly anticompetitive.10 They do, however, argue that the Court should disregard the


10
  Defendants do argue that an alleged “group boycott” is a “factual mismatch” to this case because they
do not deal with Authenticom directly and because both Defendants could have unilaterally blocked
Authenticom based on their service contracts. As Authenticom correctly responds, the first argument
misunderstands a group boycott under Klor’s, and the second fails at this stage because it ignores an
inferable reason Defendants would conspire—to prevent unhappy dealers from, for example, turning to
another DMS provider, as discussed further below. None of this, however, is to say that the per se test
will ultimately apply to Authenticom’s Section 1 conspiracy claim. See, e.g., In re High-Tech Employee
Antitrust Litig., 856 F. Supp. 2d 1103, 1122 (N.D. Cal. 2012) (determining that that plaintiff had alleged
“a per se violation of the Sherman Act for purposes of surviving a 12(b)(6) motion” but that the ultimate
decision of which test applies “is more appropriate on a motion for summary judgment”).


                                                    27
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 28 of 52 PageID #:3988



Complaint’s direct-evidence (or at a minimum, highly probative) allegations of the agreement’s

existence. CDK, for example, contends that the alleged confessions are “nonsensical” because

Reynolds had decided long before 2015 to block Authenticom’s access. Accepting that

argument, though, requires the Court to ignore well-pleaded allegations of fact (that the

executives admitted the agreement), and then credit an inference in Defendants’ favor (that the

agreement did not exist because Reynolds had already engaged in integrator blocking) over a

contrary one in Authenticom’s favor (that Reynolds agreed, for example, to escalate or enhance

its blocking, or agreed not to go after CDK for its hostile access, in exchange for CDK’s

commitment to begin blocking). The Court cannot do that at this stage. Accord Forgue, 873

F.3d at 966. CDK further submits that the executive’s comment to Mr. Cottrell—that “Reynolds

and CDK had agreed to ‘lock [Authenticom] and the other third parties out’”—does not “tend to

exclude independent conduct.” (R. 54 at 14.) Again, the allegation is that Defendants

admittedly “agreed” to block third parties.

       Reynolds’s similar arguments are equally misplaced. It identifies innocent explanations

for and interpretations of the executives’ comments, and then attempts to persuade the Court that

those exculpatory explanations are “more plausible” than Authenticom’s inculpatory ones. That

is not the inquiry at this stage. “A court ruling on [ ] a motion may not properly dismiss a

complaint that states a plausible version of the events merely because the court finds a different

version more plausible.” Anderson News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 185 (2d Cir.

2012); see also Lormand v. US Unwired, Inc., 565 F.3d 228, 267 (5th Cir. 2009) (“we are not

authorized or required to determine whether the plaintiff’s plausible inference . . . is equally

or more plausible than other competing inferences”); Pennsylvania Chiropractic Ass’n v. Blue

Cross Blue Shield Ass’n, No. 09C5619, 2010 WL 1979569, at *6 (N.D. Ill. May 17, 2010)




                                                 28
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 29 of 52 PageID #:3989



(rejecting the argument that courts should assess under Twombly which parties’ version is the

“more plausible” one); see also Evergreen Partnering Grp., Inc. v. Pactiv Corp., 720 F.3d 33, 45

(1st Cir. 2013) (“At these early stages in the litigation, the court has no substantiated basis in the

record to credit a defendant’s counterallegations.”). Instead, under Twombly, the Court abdicates

probability weighing, assumes that all the well-pleaded “allegations in the complaint are true

(even if doubtful in fact),” and decides whether the totality of those allegations “suggest that an

agreement was made.” Twombly, 550 U.S. at 556. Reynolds may ultimately have it right—the

agreement identified by Defendants’ executives may have referred to legitimate business

arrangements, or it may not have even happened as alleged—but the Court cannot credit those

alternatives at this stage.

        Defendants also insist that the alleged confessions do not refer to a broader agreement to

block integrators but only the 2015 Agreements, which are facially legitimate. That is a bad

argument. For one, it requires an inference in Defendants’ favor and Authenticom’s disfavor. It

also backfires. The executives allegedly confessed to an agreement to “block” third-party

integrators; Defendants’ position that the agreement referenced was in fact the 2015 Agreements

suggests that Defendants (or at least their executives) thought that the 2015 Agreements aimed to

“block” third-party integrators—precisely as the Complaint claims.

        Defendants’ other argument, that there is no plausibly pleaded agreement to block

integrator access to dealer data because Defendants could have done so independently, fails for

similar reasons. In making that argument, both Defendants rely on the Supreme Court’s decision

in Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 596 (1986), that a plaintiff

must present evidence showing that defendants had a “rational economic motive to conspire” and

evidence “that tends to exclude the possibility” of independent conduct to survive summary




                                                  29
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 30 of 52 PageID #:3990



judgment. Courts, however, have correctly held that the bars described in Matsushita are not set

at the pleading stage. See, e.g., SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412, 425 (4th

Cir. 2015) (considering Twombly and Matsushita, and noting “courts must be careful not to

import the summary-judgment standard into the motion-to-dismiss stage”); Evergreen

Partnering, 720 F.3d at 46 (post-Twombly “[p]leading requirements are thus starkly

distinguished from what would be required at later litigation stages under Matsushita”); Erie

Cty., Ohio v. Morton Salt, Inc., 702 F.3d 860, 869 (6th Cir. 2012) (“there is no authority cited . . .

for extending the [Matsushita] standard to the pleading stage”); Jung v. Ass’n of Am. Med.

Colleges, 300 F. Supp. 2d 119, 159 (D.D.C. 2004) (“The Court concludes that application of

the Matsushita rule simply is not appropriate in the context of a motion to dismiss.”); see also In

re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 323 (3d Cir. 2010) (“Although Twombly’s

articulation of the pleading standard for § 1 cases draws from summary judgment jurisprudence,

the standards applicable to Rule 12(b)(6) and Rule 56 motions remain distinct.”).

         Even applying Matsushita, however, the Complaint raises a reasonable inference of

Defendants’ motive to conspire. Specifically, the Complaint alleges facts showing that many

dealers preferred open architecture; when CDK began blocking, for example, several dealers

loudly complained. In light of those claims, it is inferable that—as is true of most antitrust

conspiracies—Defendants (which together control the DMS market) desired the luxury of taking

an action profitable for them but disadvantageous to their customers (by excluding a cheaper

rival in the downstream data-integration market) without fearing that their customers would

respond by, for example, turning to another provider.11 Making that inference, as the Court




11
  Indeed, consistent with the Complaint, Authenticom has asserted and submitted evidence that
Reynolds’s DMS market share began to decline after it implemented closed architecture. As the Seventh


                                                 30
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 31 of 52 PageID #:3991



must, Defendants’ argument fails. Reynolds or CDK could indeed have continued or began to

block integrator access independently, like any oligopolist could, say, continue or decide to raise

prices independently. But the former fact does not mean Defendants’ lacked a motive to

conspire to do so, like the latter fact does not mean that oligopolists lack motive to fix prices.

         The Complaint plausibly pleads an anticompetitive conspiracy to block third-party

integrators’ access to DMSs and dealer data.12 The Court, accordingly, denies Defendants’

motions to dismiss with respect to this part of Count One.

                    b.    The Alleged Market-Allocation Agreement

         The Complaint also claims that Defendants agreed to divide the data-integration market,

in which Authenticom, CDK, and Reynolds allegedly compete for vendors’ business.

Authenticom bases this theory on the 2015 Agreements’ terms. (R. 59 at 23.) Specifically, it

alleges that the DEA plainly evidences an agreement in which CDK would forebear from

providing integration services on Reynolds DMSs, in exchange for Reynolds’s forbearance from

providing integration services on CDK DMSs. The point of Defendants’ alleged conspiracy,

according to Authenticom, is to reap monopoly rents for Defendants’ data-integration services.

(E.g., Compl. ¶¶ 217.)

         Whether or not the market-division agreement is plausible, and insofar as it is distinct

from the alleged agreement to block third-party integrators, Authenticom lacks the antitrust

injury (if not injury-in-fact) required to challenge that agreement. It is well-established that a

competitor “cannot recover for a conspiracy to impose nonprice restraints that have the effect of




Circuit recognized during oral argument on the preliminary injunction, such a fact makes Defendants’
repeated declarations of facial “implausibility” dubious.
12
  Defendants, correctly, do not argue that Authenticom lacks antitrust injury stemming from this
agreement.


                                                   31
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 32 of 52 PageID #:3992



either raising market price or limiting output. Such restrictions, though harmful to competition,

actually benefit competitors by making supracompetitive pricing more attractive.” Matsushita,

475 U.S. at 583 (emphasis in original); see also, e.g., JTC Petroleum Co. v. Piasa Motor Fuels,

Inc., 190 F.3d 775, 778 (7th Cir. 1999) (holding that there was no injury and stating,

“You want your competitors to charge high prices.”); O.K. Sand & Gravel, Inc. v. Martin

Marietta Techs., Inc., 36 F.3d 565, 572 (7th Cir. 1994) (“to the extent that [claimant] was also a

seller in the market, increased prices caused it no injury, let alone antitrust injury.”); Indiana

Grocery, Inc. v. Super Valu Stores, Inc., 864 F.2d 1409, 1418 (7th Cir. 1989) (competitor lacked

injury based on Matsushita’s principle). Put differently, as Professors Areeda and Hovenkamp

have: “When a horizontal merger, price fixing, market division, or similar collaboration among

competitors substantially reduces competition, consumers suffer while existing rivals benefit.”

Areeda & Hovenkamp, ANTITRUST LAW ¶ 348b. That is the case here. As CDK puts it, the

alleged market allocation Authenticom complains of “would have helped Authenticom” by

eliminating its alleged competitors and, after they raised prices, allowing it to undercut them. (R.

54 at 11.) As such, the Complaint fails to plead plausibly injury caused by the alleged market

allocation. See, e.g., GSI Tech. v. United Memories, Inc., No. 5:13-CV-01081-PSG, 2014 WL

1572358, at *4 (N.D. Cal. Apr. 18, 2014) (“to the extent that [a firm] claims an antitrust injury

from an alleged market allocation agreement between [its competitors], [the firm] does not have

standing because it is a competitor in the marketplace, rather than a consumer.”); Banxcorp v.

Bankrate Inc., No. CIV.A. 07-3398 ES, 2012 WL 3988182, at *2 (D.N.J. Sept. 11, 2012) (same).

       The Complaint alleges that it has suffered injury in that “Defendants’ written market

division agreement caused many vendors to leave Authenticom for Digital Motorworks (i.e.,

CDK) during the ‘wind-down period’ because those vendors knew they would not be blocked




                                                  32
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 33 of 52 PageID #:3993



[from CDK] during that period.” (Compl. ¶ 232.) That injury, however, stems from the alleged

agreement (discussed earlier) to block Authenticom and other third-party integrators from

accessing dealer data, not from the alleged agreement to divide the market and raise prices. In

other words, the Complaint alleges that Authenticom’s customers headed for the exits in 2015

and 2016 because Authenticom began to lose large-scale access to dealer data, not because

competing integrators had divided the market and raised prices. The Court therefore grants

Defendants’ motions to dismiss with respect to the Complaint’s market-division claims without

prejudice.

                  2. Vertical Agreements with Vendors and Dealers

          Counts Two and Three also assert Section 1 violations. Count Two claims that

Defendants engage in anticompetitive exclusive dealing, and Count Three claims that Defendants

practice illegal tying arrangements. These claims, in essence, take issue with how Defendants

have operated their DMSs, and specifically which companies they have permitted—and more

importantly restricted—to use and access their DMSs. Defendants challenge both of

Authenticom’s vertical Section 1 theories and argue that the Complaint’s allegations do not meet

the legal requirements for such claims. Before addressing those arguments, the Court addresses

another threshold concern: the effect of Trinko and Linkline on the Complaint’s claims.

                      a.     Trinko and Linkline

          The driving animus behind many of Defendants’ Section 1 arguments is that

Authenticom essentially challenges Defendants’ refusals to deal. The law, as Defendants note,

generally permits unilateral refusals to deal by monopolists under Section 2, and so certainly

permits such unilateral refusals by non-monopolists under Section 1.13 Defendants specifically,



13
     Defendants’ related Section 2 arguments are addressed further below.


                                                     33
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 34 of 52 PageID #:3994



and naturally, point to Trinko and Linkline. In Trinko, the Supreme Court held that a monopolist

exchange carrier, Verizon, had no duty to share access to system services it owned and

competitors needed to operate their business effectively. Trinko, 540 U.S. at 410. The Supreme

Court explained that “[c]ompelling such firms to share the source of their advantage is in some

tension with the underlying purpose of antitrust law, since it may lessen the incentive for the

monopolist, the rival, or both to invest in those economically beneficial facilities.” Id. at 407–08.

A few years later, in Linkline, the Court repeated the principle. It held that another

telecommunications monopolist, AT&T, had no antitrust duty to deal—let alone a duty to deal

on favorable terms—in selling services to its competitors in the retail market. Linkline, 555 U.S.

at 450. The Supreme Court said, as was true in Trinko, a monopolist can generally wield its

upstream power “to prevent rival firms from competing effectively” in a downstream market. Id.

       In this case, Defendants submit that Authenticom’s Section 1 claims are “end-run[s]” to

Trinko and Linkline—brought against companies that are not even monopolists. Indeed, the

Seventh Circuit, in hearing Defendants’ preliminary-injunction appeal, expressed somewhat

similar concerns both at oral argument and in its opinion. See Authenticom, 874 F.3d at 1026

(“We are dubious in the extreme that [Authenticom’s claims] amount to tying, rather than simply

participation at two levels of the market, as in Linkline.”).

       Defendants may ultimately have it right, but the Court cannot adjudicate that issue at this

stage. Trinko and Linkline did not involve exclusive-dealing or tying claims, nor did they

abrogate long-standing jurisprudence in those areas. Accord Novell, Inc. v. Microsoft Corp., 731

F.3d 1064, 1072 (10th Cir. 2013) (distinguishing unilateral refusals to deal from other recognized

forms of anticompetitive conduct, like exclusive dealing and tying); Z-Tel Commc’ns, Inc. v.

SBC Commc’ns, Inc., 331 F. Supp. 2d 513, 547 (E.D. Tex. 2004) (“The Court declines to




                                                  34
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 35 of 52 PageID #:3995



read Trinko so as to lessen antitrust liability in contexts,” like tying, which were not “addressed

in that opinion”). The Complaint provides well-pleaded allegations regarding the purported

markets and, to some extent, Defendants’ conduct. Taken as true—as the Court must—those

allegations plausibly suggest at least one Section 1 violation (and a Section 2 violation, as

discussed in that section below). Discovery may reveal otherwise, and show that Authenticom’s

gripe is confined to Defendants’ unilateral refusals to deal. But at this stage, the Court’s only

role is to determine whether the Complaint states a claim for the causes of actions it advances.

                   b.    Exclusive Dealing (Count Two)

       The Complaint claims that Defendants engaged in exclusive dealing with both dealers

and vendors via their respective contractual arrangements. Defendants’ DMS licenses require a

dealer to agree that it will not provide anyone other than Defendants access to the dealer’s data

on the DMS. Likewise, Defendants’ integration-services contracts require a vendor to agree that

it will exclusively use Defendants’ respective integration services (3PA and RCI) to access data

on Defendants’ respective DMSs.

       “An exclusive dealing contract obliges a firm to obtain its inputs from a single source.”

Paddock Publ’ns, Inc. v. Chicago Tribune Co., 103 F.3d 42, 46 (7th Cir. 1996); see also Areeda

& Hovenkap, ANTITRUST LAW ¶ 1800a. “The objection to exclusive-dealing agreements is that

they deny outlets to a competitor during the term of the agreement.” Roland Mach. Co. v.

Dresser Indus., Inc., 749 F.2d 380, 393 (7th Cir. 1984). Courts, however, “‘often approve’

of exclusive dealing because of its ‘procompetitive benefits.’” Viamedia, Inc. v. Comcast Corp.,

218 F. Supp. 3d 674, 696 (N.D. Ill. 2016) (quoting Republic Tobacco Co. v. N. Atl. Trading Co.,

381 F.3d 717, 736 (7th Cir. 2004)). These benefits include “increasing allocative efficiency,

reducing adverse selection and moral hazard barriers to deals, and preventing free-riding.” VBR




                                                 35
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 36 of 52 PageID #:3996



Tours, LLC v. Nat’l R.R. Passenger Corp., No. 14-CV-00804, 2015 WL 5693735, at *12 (N.D.

Ill. Sept. 28, 2015) (citing Republic Tobacco, 381 F.3d at 736); see also Methodist Health Servs.

Corp. v. OSF Healthcare Sys., 859 F.3d 408, 410 (7th Cir. 2017). Because of those recognized

procompetitive effects, exclusive dealing “must be analyzed under the Rule of Reason.” Dos

Santos v. Columbus-Cuneo-Cabrini Med. Ctr., 684 F.2d 1346, 1352 (7th Cir. 1982) (citing

Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320 (1961)).14 Under that standard,

“[e]xclusive dealing arrangements violate antitrust laws only when they foreclose competition in

a substantial share of the line of commerce at issue.” Republic Tobacco, 381 F.3d at 736; cf.

Roland Mach., 749 F.2d at 394 (plaintiff “must prove that [the arrangement] is likely to keep at

least one significant competitor of the defendant from doing business in a relevant market . . .

[and] he must prove that the probable (not certain) effect of the exclusion will be to raise prices

above (and therefore reduce output below)”).15

         Defendants’ DMS licenses with dealers are not plausible exclusive dealing. The only

thing the Complaint alleges that Defendants sell to dealers through those licenses are DMSs, and

there is no allegation (or argument) that Defendants require dealers to purchase and use their

respective DMSs exclusively. There is therefore “no exclusivity.” VBR Tours, 2015 WL

5693735, at *12; see also Gumwood HP Shopping Partners, L.P. v. Simon Prop. Grp., Inc., No.

3:11-CV-268 JD, 2013 WL 3214983, at *8 (N.D. Ind. Mar. 13, 2013) (“when a purchaser

. . . requires only a single product, it makes no sense to label as an exclusive dealing agreement

the decision to purchase that product from one supplier rather than another”). Despite


14
  Courts “routinely rely” on Section 3 of the Clayton Act cases in assessing exclusive dealing under
Section 1 of the Sherman Act. Collins v. Associated Pathologists, Ltd., 844 F.2d 473, 478 n. 4 (7th Cir.
1988).
15
  Defendants do not contend that the alleged exclusive dealings do not constitute agreements, or that
injury is lacking.


                                                   36
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 37 of 52 PageID #:3997



Defendants raising this very point, Authenticom offers no defense of its theory. See Cnty. of

McHenry v. Ins. Co. of the West, 438 F.3d 813, 819 (7th Cir. 2006) (“When presented with a

motion to dismiss, the non-moving party must proffer some legal basis to support his cause of

action.”); Fonza v. Chicago Pub. Sch. Dist. #299, No. 17-CV-3571, 2018 WL 337811, at *6

(N.D. Ill. Jan. 9, 2018) (“it is not the court’s role to make the parties’ arguments for them”)

(citing United States v. McLee, 436 F.3d 751, 760 (7th Cir. 2006)).

       The allegations regarding Defendants’ integration-services contracts with vendors are a

different story. The Complaint alleges that these contracts require a vendor that uses the 3PA or

RCI programs for one dealer to use those programs to obtain data for any and all of its dealer-

customers that use CDK or Reynolds DMSs, respectively. In other words, they require the

vendor to obtain its integration-services exclusively from Defendants when obtaining data from

their DMSs. See Paddock, 103 F.3d at 46.

        The Complaint also has pleaded sufficient facts indicating that these exclusive-dealing

contracts could foreclose a substantial portion of the data-integration market. It pleads that each

Defendant accounts for at least 30 percent of the DMS market, or a collective 90 percent if

judged by cars sold. CDK is right that Defendants’ respective share of the DMS market is not

the operative measure, but the Complaint further alleges that vendors rely on data integrators to

access customer-dealers’ data on the DMSs that Defendants’ dominate. As a result, “[t]here are

few, if any, [vendors] that could survive without serving CDK and Reynolds dealers.” (Compl.

¶ 175). The Complaint also plausibly suggests that the enforcement of the exclusive-dealing

arrangements—which again preclude vendors from working with other integrators on

Defendants’ DMSs—has likely forced integrators (including Authenticom to an extent) from the

market, and that Defendants have been effective at hiking integration costs. See Roland Mach.,




                                                 37
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 38 of 52 PageID #:3998



749 F.2d at 394. CDK’s exclusive-dealing provisions, moreover, purport to last forever, while

Reynolds’s last the length of the contract (three years). Cf. Paddock, 103 F.3d at 47. These

allegations raise a reasonable inference that, if enforced, Defendants’ exclusive-dealing

provisions with vendors could foreclose a substantial portion of the data-integration market and

reduce output. Accord, e.g., In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices &

Antitrust Litig., No. 17-MD-2785-DDC-TJJ, 2017 WL 6524839, at *10 (D. Kan. Dec. 21, 2017)

(“recognizing that Tampa Electric provides a number of other factors which may be relevant to a

rule of reason analysis in an exclusive dealing claim . . . [we] refuse[ ] to decide at the pleading

stage that plaintiff had failed to plead adequate foreclosure levels to state an exclusive dealing

claim”); In re Ductile Iron Pipe Fitting Direct Purchaser Antitrust Litig., No. 12-711, 2013 WL

812143, at *19 (D.N.J. Mar. 5, 2013) (“The question of whether the alleged exclusive dealing

arrangements foreclosed a substantial share of the line of commerce is a merits question not

proper for the pleading stage.”).

       Defendants’ contrary arguments are, again, ill-timed for this stage of the case. CDK

primarily argues that 3PA (like, presumably, RCI) is not a data integrator that competes with

Authenticom; it is instead interface software that permits vendors direct access to the DMS. The

Court appreciates the distinction, but the Complaint plausibly suggests that it matters little to

vendors which rely on either for the primary purpose of obtaining dealers’ data. See Ploss v.

Kraft Foods Grp., Inc., 197 F. Supp. 3d 1037, 1070 (N.D. Ill. 2016) (“Courts should

dismiss antitrust claims based on a market argument only when it is certain that the alleged

relevant market clearly does not encompass all interchangeable substitute products”); accord

Avnet, Inc. v. Motio, Inc., No. 12 C 2100, 2015 WL 5307515, at *4 (N.D. Ill. Sept. 9, 2015)

(“because market definition is a deeply fact-intensive inquiry, courts hesitate to grant motions




                                                 38
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 39 of 52 PageID #:3999



to dismiss for failure to plead a relevant product market”) (quoting Todd v. Exxon Corp., 275

F.3d 191, 199–200 (2d Cir. 2001)).

         Reynolds argues that the Complaint does not allege substantial foreclosure with respect to

Reynolds’s conduct, as Authenticom can still work with vendors that service non-Reynolds

dealers. But based on Reynolds’s allegedly correlated power in the DMS market, and in light of

the other foreclosure allegations discussed earlier, the Complaint raises a reasonable inference

that Reynolds’s exclusive dealing caused substantial foreclosure.16 Reynolds, like CDK, also

cites the procompetitive upsides of exclusive dealing. Those may exist, and they may prevail on

the ultimate rule-of-reason balancing, but at this stage Authenticom need only plead facts

creating a reasonable inference of substantial foreclosure. See, e.g., Viamedia, 218 F. Supp. 3d

at 696–97; accord Pecover v. Elecs. Arts Inc., 633 F. Supp. 2d 976, 983 (N.D. Cal. 2009) (“The

rule of reason analysis requires a factual analysis of the line of commerce, the market area and

the affected share of the relevant market. Such a factual inquiry is improper at this stage in the

proceedings.”).

         The Court, accordingly, grants Defendants’ motions to dismiss as to Count Two’s

exclusive-dealing claim based on Defendants’ DMS licenses with dealers without prejudice, but

denies them as to Count Two’s exclusive-dealing claim based on Defendants’ contracts with

vendors.




16
   Reynolds cites no law for the implied proposition that courts should not examine foreclosure in the
aggregate among defendants. See, e.g., See Schaefer v. Universal Scaffolding & Equip., LLC, 839 F.3d
599, 607 (7th Cir. 2016) (“Perfunctory and undeveloped legal arguments are waived, as are arguments
unsupported by legal authority.”). In any event, the Court need not address the proposition for the reasons
just explained. But see Paddock Publ’ns, Inc. v. Chicago Tribune Co., No. 93 C 7493, 1995 WL 632031,
at *5 (N.D. Ill. Oct. 25, 1995), aff’d, 103 F.3d 42 (7th Cir. 1996) (addressing when aggregation of
exclusive deal’s anticompetitive effects is appropriate).


                                                    39
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 40 of 52 PageID #:4000



                   c.     Tying (Count Three)

       Regarding the tying claim, the Complaint alleges Defendants’ respective DMS licenses

with dealers prohibit the dealers from using integrations services other than Defendants’

respective ones. As Authenticom puts it, the “contracts with dealers condition the purchase of

DMS software (the tying product) on the dealers’ agreement to use only Defendants’ integration

services (the tied product).” (R. 59 at 35.)

       “A tying arrangement is ‘an agreement by a party to sell one product but only on the

condition that the buyer also purchases a different (or tied) product, or at least agrees that he will

not purchase that product from any other supplier.’” Eastman Kodak Co. v. Image Tech. Servs.,

Inc., 504 U.S. 451, 461–62 (1992) (quoting N. Pac. Ry. Co. v. United States, 356 U.S. 1, 5–6

(1958)). “Such an arrangement [also] violates § 1 of the Sherman Act if the seller has

appreciable economic power in the tying product market and if the arrangement affects a

substantial volume of commerce in the tied market.” Batson v. Live Nation Entm’t, Inc., 746

F.3d 827, 832 (7th Cir. 2014) (quoting Eastman Kodak, 504 U.S. at 462); see also Sheridan v.

Marathon Petroleum Co. LLC, 530 F.3d 590, 594 (7th Cir. 2008) (tying can violate Section 1

when “the seller has ‘market power’ in the market for the tying product”). The Supreme Court

has emphasized that the “essential characteristic of an invalid tying arrangement lies in the

seller’s exploitation of its control over the tying product to force the buyer into the purchase of a

tied product that the buyer either did not want at all, or might have preferred to purchase

elsewhere on different terms.” Jefferson Parish, 466 U.S. at 12.

       The Complaint attempts to allege an untraditional tying claim. Authenticom’s depiction

notwithstanding, the Complaint does not actually plead that Defendants condition the purchase

of DMSs on the purchase of integration services. Rather, it claims that Defendants effectively




                                                  40
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 41 of 52 PageID #:4001



condition the purchase of a DMS on an agreement not to use another company’s integration

services.

       This arrangement is called a “negative tie.” See Data Gen. Corp. v. Grumman Sys.

Support Corp., 36 F.3d 1147, 1178 (1st Cir. 1994) (“Section 1 also forbids ‘negative’

ties”), abrogated on other grounds by Reed Elsevier, Inc. v. Muchnick, 559 U.S. 154 (2010).

Although “courts rarely encounter” such claims, a “negative tie occurs when the customer

promises not to take the tied product from the defendant’s competitor.” Aerotec Int’l, Inc. v.

Honeywell Int’l, Inc., 836 F.3d 1171, 1178 (9th Cir. 2016) (citation, quotations, and

modifications omitted); see also Grumman Sys., 36 F.3d at 1178 (negative ties are “arrangements

conditioning the sale of one product on an agreement not to purchase a second product from

competing suppliers”); Areeda & Hokenkamp, ANTITRUST LAW ¶ 1752c (although “rarely

encountered,” a tying arrangement “is fully satisfied when the defendant’s customer promises

not to take the tied product from the defendant’s rival”). The Supreme Court recognized the

arrangement (though not in name) in Eastman Kodak when it held that there was an issue of fact

regarding whether a firm’s sale of its parts premised on an agreement that the purchaser would

not use a competitor’s servicers was an illegal tie. 504 U.S. at 463; see also id. at 462 (defining

tying as “at least [an] agree[ment] that [a purchaser] will not purchase that product from any

other supplier’”) (emphasis added); accord RealPage, Inc. v. Yardi Sys., Inc., 852 F. Supp. 2d

1215, 1223 (C.D. Cal. 2012) (holding that in light of Eastman Kodak, plaintiff had pleaded a

negative tying claim); In2 Networks, Inc. v. Honeywell Int’l, No. 2:11-CV-6-TC, 2011 WL

4842557, at *8 (D. Utah Oct. 12, 2011) (“[Plaintiff] alleges that [defendant] conditioned the sale

of its products on the third-party not buying [plaintiff’s] products. This type of ‘negative tie’ can

be the basis of a tying claim”) (citing Eastman Kodak, 504 U.S. at 461). That is the sort of sales




                                                 41
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 42 of 52 PageID #:4002



conditioning that the Complaint attempts to allege.

       Defendants, however, take issue with a second atypical feature of the alleged tie—dealers

buy the tying product (DMS) but not the tied product (integration services). See, e.g., Jefferson

Parish, 466 U.S. at 12; see also, e.g., Live Nation, 746 F.3d at 832. Authenticom does not

contend that a cognizable tying arrangement can include two (or more) levels of purchasers, but

they do claim that dealers are the “relevant targets” of the arrangement.

       The Supreme Court has emphasized that the Sherman Act “is aimed at substance rather

than form.” Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 760 (1984); see also

Eastman Kodak, 504 U.S. at 466–67 (“[F]ormalistic distinctions rather than actual market

realities are generally disfavored in antitrust law. This Court has preferred to resolve antitrust

claims on a case-by-case basis, focusing on the particular facts disclosed by the record.”)

(internal quotations and citation omitted); In re Loestrin 24 Fe Antitrust Litig., 814 F.3d 538, 550

(1st Cir. 2016) (antitrust law “consistently prioritize[s] substance over form”). When it comes to

tying, antitrust law’s substantive and “core concern” is that the practice “prevents goods from

competing directly for consumer choice on their merits.” United States v. Microsoft Corp., 253

F.3d 34, 87 (D.C. Cir. 2001) (citing Jefferson Parish, 466 U.S. at 13). In other words, tying

presents a risk of anticompetitive “leverage”—the “special ability” of a supplier with market

power “to force a purchaser to do something that he would not do in a competitive market.”

Jefferson Parish, 466 U.S. at 13–14 & n.20; see also Areeda & Hovenkamp, ANTITRUST LAW

¶ 1700d; accord Sheridan, 530 F.3d at 592.

       In this case, the Complaint does not plausibly plead that dealers are the purchasers whose

“consumer choice” is improperly constrained by the alleged tie. See Microsoft, 253 F.3d at 87.

To the contrary, the Complaint asserts that vendors engage and pay integrators for their services.




                                                 42
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 43 of 52 PageID #:4003



The Complaint does claim that dealers have historically “had the right to grant data access to the

integrator of their choice” and that “it is the dealer’s choice to evaluate the security protections of

data, and select one that meets their standards.” (Compl. ¶¶ 5, 16.) Those allegations, however,

are conclusory, and they are inconsistent with the other claims that vendors select integrators.

(Id. ¶ 115 (“If CDK and Reynolds’ integration products were reasonable substitutes, application

providers would choose between them”) (emphasis added), ¶ 18 (bringing suit “so that vendors

(and dealers) can select a data integrator of their choice”), ¶ 5 (“When dealers and vendors had a

choice of which integrator to use, the integration market flourished”).) The Complaint also

alleges that vendors “pass most if not all” of Defendants’ increased data-integration fees on to

dealers. (Compl. ¶ 224.) That generalized allegation, however, does not plausibly suggest that

dealers, not vendors, make the economic choice about which integrator to use and suffer the

consequences of those decisions. Cf. Dos Santos, 684 F.2d at 1354 (in dicta, stating that a

hospital, rather than a patient, may be the “real purchaser” for antitrust purposes because the

patient does not make the “significant economic decision[s]” about which anesthesia services to

use); see also Aerotec, 836 F.3d at 1179 (holding that there was no “de facto” or “implied” tie

because there was no evidence of conditioning on the consumer).

       No alleged facts plausibly suggest that—despite vendors engaging, paying, and receiving

directly integrators’ services—dealers are the effective and actual purchasers of those services.

The Complaint therefore does not state a tying claim, and the Court grants Defendants’ motions

to dismiss with respect to Count Three without prejudice.

       C.      Authenticom’s Section 2 Claim (Count Four)

       The Complaint also includes a claim under Section 2 of the Sherman Act for

monopolization. To plead such a claim, a plaintiff must allege (1) that the defendant “possessed




                                                  43
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 44 of 52 PageID #:4004



monopoly power” in an antitrust market, and (2) that the defendant “willfully acquired or

maintained that power by means other than the quality of its product, its business acumen, or

historical accident.” Mercatus Grp., LLC v. Lake Forest Hosp., 641 F.3d 834, 854 (7th Cir.

2011); see also Comcast Corp. v. Behrend, 569 U.S. 27, 43 (2013). The Complaint, however,

does not plead that either CDK or Reynolds are monopolists in the DMS or data-integration

markets. It claims instead that Defendants have monopolized the purported data-integration

aftermarkets for their respective DMSs. Defendants, in response, argue that the Complaint fails

to plead the narrow sort of aftermarket claim the Supreme Court blessed in Eastman Kodak and

that it fails to allege the acquisition of power through unlawful conduct. The Court disagrees.

               1. The Single-Brand Aftermarket

       “In rare circumstances, a single brand of a product or service can constitute a relevant

market for antitrust purposes.” PSKS, Inc. v. Leegin Creative Leather Prod., Inc., 615 F.3d 412,

418 (5th Cir. 2010). Eastman Kodak is the principal authority describing such circumstances. In

that case, independent-service operators of photocopiers and micrographic equipment sued

Kodak for, among other things, monopolizing the sale of services for Kodak machines. 504 U.S.

at 459. After doing well selling equipment, Kodak moved to control the repairs of its equipment.

It specifically implemented a new policy of selling replacement parts only to owners that used

Kodak’s services or repair their own machines. As part of the same policy, manufacturers

agreed not to sell replacement parts to anyone but Kodak, and Kodak “pressured” owners and

distributors not to sell replacement parts to independent service providers. Id.

       Kodak first argued that it could not exercise power in the markets for its parts and

services because there was bona fide competition in the upstream market for equipment, and

therefore customers could check supracompetitive pricing for parts and services by turning to




                                                44
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 45 of 52 PageID #:4005



Kodak’s manufacturer-competitors. The Supreme Court disagreed. It held that in a “market for

complex durable goods,” like the one at issue, customers may face “significant information and

switching costs” in attempting to change equipment manufacturers, and “[l]ifecycle pricing” is

difficult for consumers to calculate when initially purchasing equipment. Id. at 473. The

Supreme Court, moreover, found it important that Kodak had “locked in” many customers before

changing its policy to dominate the parts and services aftermarkets. Id. at 475. The Supreme

Court thus held that a factual question existed as to “whether information costs and switching

costs foil the simple assumption that the equipment and service markets act as pure complements

to one another.” Id. at 477. Kodak later argued “that, as a matter of law, a single brand of a

product or service can never be a relevant market under the Sherman Act.” Id. at 481. The

Supreme Court again disagreed. It reasoned that the relevant antitrust market was “determined

by the choices available for Kodak equipment owners.” Id. at 482 (citing Jefferson Parish, 466

U.S. at 19). Because Kodak’s parts are not interchangeable with other manufacturers’, the

Supreme Court concluded that the relevant market from the “owner’s perspective is composed of

only those companies that service Kodak machines.” Id. at 482.

       The Seventh Circuit has since elucidated Eastman Kodak’s holding. In Digital Equip.

Corp. v. Uniq Digital Techs., Inc., 73 F.3d 756, 762 (7th Cir. 1996), the court explained that the

Eastman Kodak Court “conceded that customers who had anticipated the change of policy could

not be exploited.” Indeed, “[c]ompetition among manufacturers fully protects buyers who

accurately calculate life-cycle costs”—but for customers who did or could not have that

anticipation, “Kodak had some ability to extract additional money by raising prices.” Digital

Equip., 73 F.3d at 762. It went on:

       The Court did not doubt in Kodak that if spare parts had been bundled with
       Kodak’s copiers from the outset, or Kodak had informed customers about its



                                                45
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 46 of 52 PageID #:4006



       policies before they bought its machines, purchasers could have shopped around
       for competitive life-cycle prices. The material dispute that called for a trial was
       whether the change in policy enabled Kodak to extract supra-competitive prices
       from customers who had already purchased its machines.

Id. at 763. In Schor v. Abbott Labs., 457 F.3d 608, 614 (7th Cir. 2006), the court explained

further: “What the Supreme Court held in [Eastman Kodak] is not that firms with market power

are forbidden to deal in complimentary products, but that they can’t do this in ways that take

advantage of customers’ sunken costs” by, in Kodak’s case, “mov[ing] to claim all of the repair

work for itself.” See also PSI Repair Servs., Inc. v. Honeywell, Inc., 104 F.3d 811, 819 (6th Cir.

1997) (“Both the First and the Seventh Circuits have interpreted Kodak to be limited to situations

in which the seller’s policy was not generally known.”) (citing Digital Equip., 73 F.3d at 763,

Lee v. Life Ins. Co. of North America, 23 F.3d 14, 20 (1st Cir. 1994), cert. denied, 513 U.S. 964

(1994)).

       Other circuits have echoed that an Eastman Kodak claim depends on the consumer’s

unawareness of the supplier’s aftermarket power and its terms when it purchased the

primary-market product. See, e.g., id. at 820 (“the change in policy in Kodak was the crucial

factor in the Court’s decision”); Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d 354, 405 (3d Cir.

2016) (“no antitrust liability for a Kodak-style attempted monopolization claim could lie after

May 2008 when customers were put on clear notice that purchasing [defendant’s] precluded use

of [third-party] maintenance”); DSM Desotech Inc. v. 3D Sys. Corp., 749 F.3d 1332, 1346 (Fed.

Cir. 2014) (stating, “[c]rucial to the Kodak decision . . . was the fact that customers had already

purchased their equipment before learning about Kodak's policies on aftermarket parts and

services[,]” and holding, “[c]ustomers who learn about the RFID lock before buying the

equipment cannot be exploited in the same way as the ‘locked-in’ customers because they can

shop around for competitive life-cycle prices.”); see also, e.g., Collins Inkjet Corp. v. Eastman



                                                 46
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 47 of 52 PageID #:4007



Kodak Co., 781 F.3d 264, 278 (6th Cir. 2015) (holding that plaintiff sufficiently stated an

Eastman Kodak claim in large part because “there is no indication that . . . customers had any

reason to expect sharp variations in aftermarket prices” although they were sophisticated

purchasers). The Ninth Circuit aptly summarized the post-Eastman Kodak world this way:

“[T]he law permits an antitrust claimant to restrict the relevant market to a single brand of the

product at issue (as in Eastman Kodak ),” but “the law prohibits an antitrust claimant from

resting on market power that arises solely from contractual rights that consumers knowingly and

voluntarily gave to the defendant.” Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1048

(9th Cir. 2008) (second emphases added).17

         Taking the aftermarket case against CDK first, the Complaint plausibly pleads a claim.

The Complaint alleges facts suggesting that consumers are “locked in” after purchasing CDK

DMSs, given the initial investments required, the contract length, and the resources required to

change DMSs. It also alleges that CDK changed from open architecture to closed architecture as

a matter of policy in 2015, which resulted in hefty integration-service fees. CDK contends that

because its DMS licenses with dealers expressly prohibit DMS access to anyone other than the

dealers’ “employees and agents,” dealers knew what they were signing up for. The Complaint is

replete with detailed allegations, however, showing that, before 2015, CDK publicly and loudly

took the position that it permitted third-party integrator access. It is thus inferable that dealers

did not in fact “knowingly and voluntarily” agree to third-party blocking when they purchased

DMSs. See id. That the licenses permit “agents” to access the DMS adds to the conclusion that

CDK may have duped dealers by closing its architecture post-sale, even if CDK is correct that



17
  Defendants do not challenge whether the alleged aftermarkets are insufficient for failing to exclude
reasonable alternatives (see R. 54 at 20–23, R. 57 at 29–38)—a question best left for summary judgment
anyway.


                                                  47
     Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 48 of 52 PageID #:4008



integrators do not actually constitute agents under state law.

         In addition to the 2015 switch in policy, the Complaint alleges that CDK’s contracts with

vendors prohibit the vendors from informing dealers of how much CDK’s integration services

cost, or even telling dealers any part of its charges from vendors are “in any [ ] way associated

with” CDK’s costs. From that, it is reasonably inferable that dealers cannot price shop for

“lifecycle”—a fact that the Eastman Kodak court found critical. 504 U.S. at 473–75. CDK’s

counter argument—that the Complaint pleads that some dealers complained about the costs, and

thus the allegations about price-secrecy are not well-pleaded—is a stretch. A contract can

prohibit vendors from sharing pricing information and a few vendors can do so anyway.

Altogether, as was true in Eastman Kodak, “[t]he proper market definition in this case can be

determined only after a factual inquiry into the ‘commercial realities’ faced by consumers.” 504

U.S. at 482.

         The aftermarket case against Reynolds is thinner, but nevertheless sufficient at this stage.

Reynolds points out that the Complaint affirmatively pleads its long-standing opposition to third-

party integration, which started in 2009 at the latest. It pleads further that Reynolds’s has made

this stance publicly known, and that its contracts expressly ban “provid[ing] access to . . . any

third party.” The Complaint, therefore, affirmatively pleads that Reynolds’s closed architecture

was generally known to customers before they purchased the product (during whatever can be

considered the relevant period, at least).18

         But a change in aftermarket practices is not the sole worry of Eastman Kodak and its

progeny. See Harrison Aire, Inc. v. Aerostar Int’l, Inc., 423 F.3d 374, 384 (3d Cir. 2005) (“an

‘aftermarket policy change’ is not the sine qua non of a Kodak claim”). Rather, as explained, the


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  Authenticom’s attempt to walk back that pleading by calling Reynolds’s initial blocking as “tepid” is
unpersuasive.


                                                   48
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 49 of 52 PageID #:4009



Supreme Court expressed more general concerns about customers that unknowingly and

involuntarily sign on for the defendant’s aftermarket power. See Eastman Kodak, 504 U.S. at

473–75. Included in that group, according to the Supreme Court, are those unable to undertake

lifecycle-cost analyses (at least at some, reasonable level) before purchasing the primary product

because the requisite “information is difficult—some of it impossible—to acquire at the time of

purchase.” Id. at 473–74. Indeed, the Seventh Circuit recognized as much in explaining that

“[c]ompetition among manufacturers fully protects buyers who accurately calculate life-cycle

costs,” but where customers cannot do so, a supplier-defendant (i.e., Kodak, in the court’s

description) can charge supracompetitive prices in the aftermarket. Digital Equip., 73 F.3d at

762 (emphasis added). Like CDK, the Complaint pleads that Reynolds employs contracts that

prohibit vendors from sharing with dealers Reynolds’s integration fees, which are allegedly

subject to varying, significant, and frequent increases. Taken as true, those alleged “market

imperfections” suggest that dealers may be unable to assess lifecycle costs like the Eastman

Kodak owners. Newcal, 513 F.3d at 1050; Image Tech. Serv., Inc. v. Eastman Kodak Co., 903

F.2d 612, 617 (9th Cir. 1990), aff’d sub nom. Eastman Kodak, 504 U.S. 451 (“market

imperfections can keep economic theories about how consumers will act from mirroring reality”)

(citing Jefferson Parish, 466 U.S. at 15 n. 24)); see also Areeda & Hovenkamp, ANTITRUST LAW

¶¶ 1740, 1740a. Despite Authenticom making this point, Reynolds ignores it altogether.

       Ultimately, Authenticom “must produce hard evidence dissociating the competitive

situation in the aftermarket from activities occurring in the primary market.” Avaya, 838 F.3d at

402. At this stage, however, the Complaint adequately pleads an aftermarket claim against

Reynolds.




                                                49
 Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 50 of 52 PageID #:4010



               2. Acquisition of Power by Anticompetitive Means

       That leaves the question of whether the Complaint has adequately alleged that

Defendants have monopolized their respective aftermarkets through anticompetitive means.

“Where defendant has engaged in unlawful restraint of trade that would independently violate

Section 1 of the Sherman Antitrust Act, it is well established that it also violates Section 2 if it

acquires or maintains a monopoly by means of that restraint of trade.” Gumwood HP, 2013 WL

3214983, at *7 (citing United States v. Griffith, 334 U.S. 100, 106 (1948)). As already

determined, the Complaint adequately pleads that Defendants have engaged in a conspiracy to

block Authenticom and exclusive dealing. Defendants do not argue that such conduct is

insufficiently anticompetitive for Section 2’s purposes.

       Defendants do, however, fall back on Trinko and the CFAA. Those positions are

unpersuasive mostly for reasons already explained. Accord Viamedia, 218 F. Supp. 3d 674

(denying a motion to dismiss with respect to Section 2 tying and exclusive dealing claims, but

granting it with respect to Section 2 refusal-to-deal claim). Defendants emphasize, for example,

that Authenticom has no right to access the DMSs, and that its Section 2 claim is really an

attempt to “enforce[ ] sharing” of Defendants’ DMSs. That concern is both premature and

misplaced. As the Seventh Circuit has made clear, in no event will there be an enforced duty to

deal. Authenticom, 874 F.3d at 1025–26. If the alleged agreement violates the Sherman Act, the

proper remedy is to “set the offending agreement aside.” Id. at 1026. If the alleged ties (if later

pleaded plausibly) do the same, “the proper remedy would be to enjoin the tie.” Id. As for the

cyber-security laws, Defendants argue that their right to deny third parties access to their

computers is not “override[n]” by the Sherman Act. True, but so is the inverse—cyber-security

laws do not give Defendants an antitrust defense.




                                                  50
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 51 of 52 PageID #:4011



       The Court therefore denies Defendants’ motions to dismiss with respect to Count Four.

II.    Tortious Interference (Count Five)

       Finally, the Complaint alleges that Defendants tortuously interfered with Authenticom’s

business by engaging in the conduct that forms the bases of the antitrust claims as well as by

spreading “falsehoods” about Authenticom’s security. “In an MDL, a court must apply the

choice-of-law rules of the transferor forum.” Chang v. Baxter Healthcare Corp., 499 F.3d 728,

732 (7th Cir. 2010); see also Dairy Farmers, 2015 WL 3988488, at *22. Under Wisconsin law,

tortious interference with contractual relations has five elements: “(1) the plaintiff had a contract

or prospective contractual relationship with a third party; (2) the defendant interfered with the

relationship; (3) the interference was intentional; (4) a causal connection exists between the

interference and the damages; and (5) the defendant was not justified or privileged to interfere.”

Comsys Inc. v. City of Kenosha, 2017 WL 1906750, at *22 (E.D. Wis. May 9, 2017) (quoting

Burbank Grease Servs., LLC v. Sokolowski, 717 N.W.2d 781, 796 (Wis. 2006)). Wisconsin

courts also appear to follow the Restatement (Second) of Torts’ approach to tortious interference.

See Magnum Radio, Inc. v. Brieske, 577 N.W.2d 377, 379 (Wis. Ct. App. 1998).

       Defendants argue that the Complaint fails to plead the first and fifth elements. They

contend that Authenticom’s vendor contracts are invalid and unenforceable in that they are

illegal under the cyber-security laws. The Complaint, however, does not plead that assertion.

Further, as already noted, the question of “authorization” is fact-intensive and its resolution on

these pleadings is inappropriate. See, e.g., Weingand, 2012 WL 3763640, at *2. Defendants

point to no case in which a court has dismissed claims based on the notion that the Complaint

affirmatively pleaded a violation of cyber-security laws. Defendants also contend that Section

773 of the Restatement (Second) of Torts, which says that a party may be “justified or privileged




                                                 51
  Case: 1:18-cv-00864 Document #: 176 Filed: 05/14/18 Page 52 of 52 PageID #:4012



to interfere” if it is asserting “in good faith a legally protected interest,” protects their conduct.

As Authenticom correctly notes, however, that exception does not extend to otherwise illegal

acts. See Restatement (Second) of Torts § 767 cmt. c (1979) (“Conduct specifically in violation

of statutory provisions or contrary to established public policy may for that reason make an

inference [that the defendant acted without inappropriate motive] improper. This may be true,

for example, of conduct that is in violation of antitrust provisions or is in restraint of trade”).

Moreover, courts recognize that the issue is a factual one inappropriate for resolution on a

motion to dismiss. See Metso Minerals Indus., Inc. v. FLSmidth-Excel LLC, No. 07-CV-926,

2010 WL 55845, at *3 (E.D. Wis. Jan. 5, 2010). The Court, accordingly, denies Defendants’

motions to dismiss Count Five.

                                           CONCLUSION

        For the foregoing reasons, the Court grants in part and denies in part Defendants’ motions

to dismiss. If Authenticom wishes to replead any claims that the Court has dismissed without

prejudice, it has until June 4, 2018, to do so.



Dated: May 14, 2018                               ENTERED



                                                  ______________________________
                                                  AMY J. ST. EVE
                                                  United States District Court Judge




                                                    52
